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  August 22, 2018


  VIA CM/ECF & HAND DELIVERY                        PUBLIC VERSION
  The Honorable Sherry R. Fallon
  District Court of Delaware
  J. Caleb Boggs Federal Building
  Wilmington, DE 19801-3567

         Re: Liqwd, Inc., et al. v. L’Oréal USA, Inc., et al., C.A. No. 17-14 (JFB) (SRF)

  Dear Judge Fallon:

          Plaintiffs contend that Mr. Blackburn, one of Plaintiffs’ nine attorneys who have entered
  an appearance in this case, should continue to be allowed to have a second role representing
  Plaintiffs in post-grant proceedings involving the asserted patents at the United States Patent and
  Trademark Office. In addition, Plaintiffs contend that Ms. Walden, Plaintiffs’ in-house counsel,
  should continue to receive Defendants’ Highly Confidential Information, despite currently being
  excluded from many of the provisions intended to safeguard such information in paragraph 12(a-
  c) of the Protective Order (D.I. 54). For the reasons provided in Defendants prior letter brief
  (D.I. 358) and below, Defendants ask the Court to look past Plaintiffs’ unavailing arguments and
  grant the requested relief.

         A.      Participation of Plaintiffs’ Counsel, Mr. Matthew Blackburn,
                 in Post-Grant Review Proceedings

          Plaintiffs do not dispute that Mr. Blackburn has received Defendants’ Highly
  Confidential Information. (D.I. 358 at 2.) Nor do Plaintiffs dispute that during pending post
  grant proceedings involving asserted U.S. Patent No. 9,668,954 (“the ’954 patent”), Plaintiff
  Liqwd, Inc. disclaimed claim 17 of the ’954 patent in an effort avoid institution of those post
  grant proceedings. (Id. at 3.) Nonetheless, Plaintiffs make four primary arguments in support of
  Mr. Blackburn’s continued involvement in the post grant proceedings. Specifically, according to
  Plaintiffs, (1) the Protective Order allows them to make changes to claims at issue in post grant
  proceedings so long as those changes are made outside of the confines of the post grant
  proceedings, (2) Mr. Blackburn was not the person who filed the disclaimer, (3) the disclaimer of
  claim 17 is not an “amendment or change” to claim 17, and (4) Defendants’ requested relief
  would be burdensome. These arguments cannot withstand scrutiny.

          First, Plaintiffs are wrong that the Protective Order is only intended to limit the
  mechanism used to alter claims at issue in post grant proceedings. The Protective Order states
  that the Post Grant Activity bar applies “upon a good faith belief that an amendment or change to
  any claim of [an asserted patent] would be made or any new claims would be added in such a
  post grant proceeding.” (D.I. 54 ¶ 12(c).) Nowhere does the Protective Order limit where such
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  amendments, changes, or new claims with respect to patents at issue in post grant proceedings
  may be made. Indeed, such a limitation would make little sense—the result is what matters, not
  the mechanism used by Plaintiffs. And here there is no question that the disclaimer of claim 17
  affected the post grant proceedings. While the Patent Trial and Appeal Board (“PTAB”) did
  institute a post-grant proceeding against the ’954 patent—proving that the asserted claims are
  more likely than not unpatentable (D.I. 366-1 Ex. A at 37)—it declined to institute another at
  least in part because of the disclaimer of claim 17 (id. Ex. B at 24; see also id. Ex. A at 3 n.1).1

           Plaintiffs’ second argument, that Mr. Blackburn was not the person who filed the
  disclaimer, is a red herring. The Protective Order states that “[t]he restrictions set forth in
  paragraphs 12(b-c) shall apply immediately upon a good faith belief that an amendment or
  change to any claim of [an asserted patent] would be made or any new claims would be added in
  such a post grant proceeding,” regardless of who is involved in such an amendment, change, or
  creation of a new claim. Additionally, even if the Court looks at this at an individual-specific
  level, involvement in the disclaimer is what should matter, not involvement in the clerical
  process of filing the disclaimer. While Mr. Blackburn and Ms. Walden each took care to submit
  a sworn statement to this Court that Ms. Monheit was the one that filed the disclaimer of claim
  17, both Mr. Blackburn and Ms. Walden curiously never deny involvement in the decision to
  pursue the disclaimer or its use to avoid PGR review. (D.I. 369 ¶ 9; D.I. 371 ¶ 13.) Ms. Monheit
  herself only says that she “entered [the] disclaimer using [her] professional judgment” and does
  not deny having consulted with others, including Mr. Blackburn and Ms. Walden. (D.I. 370 ¶
  5.)2 Indeed, the only alternative—that Ms. Monheit sua sponte disclaimed a claim of a patent at
  issue in district court litigation without consulting with her client, despite her own professed lack
  of experience in “litigation activities or post-grant proceedings” (Id. ¶ 4)—defies logic.

          Third, as to Plaintiffs’ position that the disclaimer of claim 17 is not an “amendment or
  change” to claim 17, the language of the Protective Order makes clear that Plaintiffs are wrong.
  The Protective Order speaks to three categories of patent claim revisions: (1) “amendment[s]” to
  claims, (2) “change[s]” to claims, and (3) “new claims.” (D.I. 54 ¶ 12(c).) These categories line
  up with the three possible ways a claim may be revised—(1) a claim can be retained with its
  language altered; (2) a claim can be removed through cancellation/disclaimer; and (3) a new
  claim can be added. Thus, when the Protective Order speaks of an “amendment or change,” it is
  not limited to textual amendments, but also encompasses changes by way of
  cancellation/disclaimer.

         Finally, Plaintiffs argue that their litigation costs would rise if Mr. Blackburn was
  precluded from further involvement in the post grant proceedings. However, it is Plaintiffs’ own

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   Under SAS Inst., Inc. v. Iancu, if the Board had instituted a proceeding as to claim 17, it would
  have had to institute as to all challenged claims. 138 S. Ct. 1348, 1354 (2018).
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   If the Court is inclined to deny the relief Defendants are seeking, Defendants should, at a
  minimum, be afforded an opportunity to take the depositions of these individuals and offer the
  deposition testimony to the Court. The declarations are carefully worded and, at best, fail to
  answer critical questions. (See, e.g., infra Section B (discussing Ms. Walden’s failure to deny
  having indirectly advised or instructed Ms. Monheit to enter the disclaimer of claim 17).)
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  actions that have caused the Post Grant Activity bar to be triggered, and Plaintiffs should have
  had the foresight to anticipate the corresponding consequences. Moreover, the risk to
  Defendants is significant. As is evident from this very case, Plaintiffs are actively pursuing ways
  to sue Defendants for patent infringement. In this context, and in light of the provisions in the
  Protective Order, Mr. Blackburn should not be permitted to simultaneously continue to receive
  Defendants’ Highly Confidential Information as outside counsel for Defendants and participate
  in the post grant proceedings. At a minimum, Mr. Blackburn should have to choose his venue
  going forward. For instance, if the Court is not inclined to restrict Mr. Blackburn’s participation
  in post grant proceedings, Mr. Blackburn should at a minimum be excluded from receiving
  Defendants’ Highly Confidential Information going forward if Plaintiffs choose to continue to be
  represented by him in the post grant proceedings. Plaintiffs certainly have (and do not deny
  having) other attorneys not involved in the post grant proceedings that can handle issues
  associated with such information.

         B.      Access to Defendants’ Highly Confidential Information
                 by Plaintiffs’ In-House Counsel, Tiffany Walden

         Ms. Walden concedes that she recently became Plaintiff Olaplex LLC’s Chief
  Administrative Officer. (D.I. 371 ¶ 5.) According to Plaintiffs, “that title merely reflects the
  administrative responsibilities Ms. Walden has performed all along.” (D.I. 368 at 5-6.) Even
  assuming that is true, this means that Ms. Walden vastly underrepresented the extent of her
  business role before earning that title. For instance, when asked “what specific issues [Ms.
  Walden] perform[s] in [her] business function capacity,” the only thing she pointed out was that
  she was “one of the people that oversee [Olaplex’s] distribution accounts.” (D.I. 368 Ex. D at
  22:11-19.) Such a limited role is a far cry from a company’s Chief Administrative Officer.
  Indeed, if there is another person who also performs the functions of such an officer, Plaintiffs
  have not identified that person.

          Moreover, Ms. Walden’s declaration raises additional questions in regards to risks to
  Defendants from her continued exposure to Defendants’ Highly Confidential Information. For
  instance, while Ms. Walden states that she “did not directly advise or instruct Ms. Monheit to
  enter [the] disclaimer” discussed above, she does not deny having indirectly done so. (D.I. 371 ¶
  13.) This omission is notable because just two sentences later she denies “directly or indirectly”
  supplying Ms. Monheit with “L’Oréal information designated as Confidential or Highly
  Confidential.” (Id. (emphasis added).) That is, while Ms. Walden denies having indirectly
  supplied Ms. Monheit with confidential information, Ms. Walden does not deny having
  indirectly advised or instructed Ms. Monheit to enter the disclaimer (e.g., through Dr. Pressly,
  who Ms. Walden says is the Olaplex employee that communicates with Ms. Monheit). (Id. ¶ 4.)

          Ms. Walden emphasizes that she “do[es] not advise or otherwise direct outside counsel’s
  strategy decisions related to patent prosecution.” (D.I. 371 ¶ 4.) But that only begs the question
  of why Plaintiffs insist that Ms. Walden be granted the exception in paragraph 12(d) of the
  Protective Order. At a minimum, however, if the Court retains the exception for Ms. Walden at
  Plaintiffs’ insistence, she should only be granted access to Defendants’ Highly Confidential
  Information related to financial information that is necessary for managing the litigation and not
  any technical information.
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                                           Respectfully,

                                           /s/ Frederick L. Cottrell, III

                                           Frederick L. Cottrell, III (#2555)
  cc: Counsel of Record (via E-Mail)
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 22, 2018, true and correct copies of the foregoing

  document were caused to be filed with the Clerk of Court via CM/ECF, which will send

  notification of the filing to counsel of record, and I further certify that true and correct copies of

  the foregoing document were caused to be served on the following counsel of record as

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